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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


VARTA MICROBATTERY GMBH,                                        CASE NO. 2:21-cv-00036-JRG

v.                                                                    LEAD CASE
                                                                JURY TRIAL DEMANDED
GUANGDONG MIC-POWER NEW
ENERGY CO., LTD.

VARTA MICROBATTERY GMBH,
                                                                CASE NO. 2:21-cv-00038-JRG
v.
                                                                    MEMBER CASE
PEAG, LLC d/b/a JLAB AUDIO                                      JURY TRIAL DEMANDED


                 Joint Motion to Stay All Deadlines and Notice of Settlement

       Pursuant to the Court’s Standing Order, as well as the Court’s request on June 2, 2022 for

a joint notice regarding case status, Plaintiff VARTA Microbattery GmbH and Defendants

Guangdong Mic-Power New Energy Co., Ltd. and PEAG, LLC d/b/a JLab Audio (collectively,

the “Parties”) respectfully file this Joint Motion to Stay All Deadlines and Notice of Settlement.

The Parties hereby notify the Court that they have reached a settlement in principle (which was

reached approximately 30 minutes prior to this filing) resolving the matters in controversy between

them in the above-styled actions. The Parties request that the Court stay all deadlines and settings

in said actions for thirty (30) days so that appropriate dismissal papers may be submitted.
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Dated: June 2, 2022                                      Respectfully submitted,

/s/ Andrew W. Stinson                                    /s/ J. Travis Underwood
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                                     Certificate of Service

       I hereby certify that all counsel of record who have consented to electronic service are

being served with a copy of this document via CM/ECF on June 2, 2022.

                                                    /s/ Andrew W. Stinson
                                                    Andrew W. Stinson




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                                  Certificate of Conference

       I hereby certify that Counsel for Plaintiff and Counsel for Defendants Guangdong Mic-

Power New Energy Co., Ltd. and PEAG, LLC d/b/a JLab Audio have complied with the meet and

confer requirement in Local Rule CV-7(h) regarding this Motion. The Parties are in agreement as

to the relief sought herein.

                                                   /s/ Andrew W. Stinson
                                                   Andrew W. Stinson




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